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     pretrial conference) that also appear to violate the Court’s Order re: Jury/Court
     Trial, both as to format and content.

  • Verdict Forms (Dkt. Nos. 112, 125) for failure to comply with the Court’s
    Order re: Jury/Court Trial, especially for the parties’ failure to explain/justify
    their disagreements.

  • The parties also failed to file a Proposed Final Pretrial Conference Order – a
    document essential to conducting the final pretrial conference.

        This case is not ready for the final pretrial conference and motion in limine
  hearing, or for trial. These dates are therefore VACATED.

         The parties are ORDERED to meet and confer to propose new dates (1) for
  filing revised/corrected versions of the stricken documents and a proposed Final
  Pretrial Conference Order; (2) for the final pretrial conference and motion in
  limine hearing; and (3) for trial. The final pretrial conference and trial dates should
  be in the fall of 2022. The parties’ proposed new schedule must be filed by May
  16, 2022.

        Before filing any of these documents, the parties MUST review the Court’s
  Standing Order (Dkt. No. 10), the Order re: Jury/Court Trial (Dkt. No. 59), and all
  Local Rules relevant to trial. Filings must comply with the Orders. The parties
  MUST also meet and confer on all issues and use their best efforts to eliminate or
  minimize the disputes for the Court to resolve. The parties MUST fully meet and
  confer on any motions in limine; if it appears that the movant id not diligently do
  so on any motion, the Court may summarily deny it.

         Finally, the Court notes that the time and resources that the parties will
  expend on the instant filings as a result of their inability to comply with this
  Court’s Orders would be much better spent in resolving this dispute. The Court
  urges the parties to reconsider their respective positions with an eye to resolution
  rather than expending further time, resources, and expense preparing a flurry of
  revised pretrial documents.

          IT IS SO ORDERED.




  CV-90 (12/02)               CIVIL MINUTES – GENERAL                 Initials of Deputy Clerk CB

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